       Case 4:20-cv-05146-YGR Document 869 Filed 09/15/22 Page 1 of 5




 1 BLEICHMAR FONTI & AULD LLP                         QUINN EMANUEL URQUHART &
   Lesley Weaver (Cal. Bar No. 191305)                SULLIVAN, LLP
 2 Angelica M. Ornelas (Cal. Bar No. 285929)          Andrew H. Schapiro (admitted pro hac vice)
   Joshua D. Samra (Cal. Bar No. 313050)              andrewschapiro@quinnemanuel.com
 3
   555 12th Street, Suite 1600                        191 N. Wacker Drive, Suite 2700
 4 Oakland, CA 94607                                  Chicago, IL 60606
   Tel.: (415) 445-4003                               Tel: (312) 705-7400
 5 Fax: (415) 445-4020                                Fax: (312) 705-7401
   lweaver@bfalaw.com
 6

 7 DiCELLO LEVITT LLC                                 Stephen A. Broome (CA Bar No. 314605)
   David A. Straite (admitted pro hac vice)           stephenbroome@quinnemanuel.com
 8 60 East 42nd Street, Suite 2400                    Viola Trebicka (CA Bar No. 269526)
   New York, New York 10165                           violatrebicka@quinnemanuel.com
 9 Tel.: (646) 933-1000                               Crystal Nix-Hines (CA Bar No. 326971)
   dstraite@dicellolevitt.com                         crystalnixhines@quinnemanuel.com
10                                                    865 S. Figueroa Street, 10th Floor
11 Amy E. Keller (admitted pro hac vice)              Los Angeles, CA 90017
   Adam Prom (admitted pro hac vice)                  Tel: (213) 443-3000
12 Ten North Dearborn Street, 6th Fl.                 Fax: (213) 443-3100
   Chicago, Illinois 60602
13 Tel.: (312) 214-7900
   akeller@dicellolevitt.com
14

15 SIMMONS HANLY CONROY LLC                           Jomaire Crawford (admitted pro hac vice)
   Jason ‘Jay’ Barnes (admitted pro hac vice)         jomairecrawford@quinnemanuel.com
16 An Truong (admitted pro hac vice)                  51 Madison Avenue, 22nd Floor
   112 Madison Avenue, 7th Floor                      New York, NY 10010
17 New York, NY 10016                                 Telephone: (212) 849-7000
   Tel.: (212) 784-6400                               Facsimile: (212) 849-7100
18
   Fax: (212) 213-5949
19 jaybarnes@simmonsfirm.com                          Counsel for Defendant; additional counsel
                                                      listed in signature blocks below
20 Counsel for Plaintiffs

21
                       IN THE UNITED STATES DISTRICT COURT
22              NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION
23    PATRICK CALHOUN, et al., on behalf of            Case No. 4:20-cv-5146-YGR-SVK
      themselves and all others similarly situated,
24                                                     JOINT STATUS REPORT PURSUANT
            Plaintiffs,                                TO ORDER RE EVIDENTIARY
25
                                                       HEARING (DKT. NO. 865)
                   v.
26
      GOOGLE LLC,                                      Judge: Hon. Yvonne Gonzalez Rogers
27
             Defendant.
28
                                                                          Case No. 4:20-cv-5146-YGR-SVK
                                                                  JOINT STATUS REPORT PURSUANT TO
                                                                                             DKT. NO. 865
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 1          Plaintiffs and Defendant Google LLC (together, the “Parties”), by and through undersigned

 2 counsel, respectfully submit this Joint Status Report in response to the September 13, 2022 “Clerk’s

 3 Notice Setting Compliance Deadline,” instructing the Parties to “file an updated status report with the

 4 parties and witnesses availability for an evidentiary hearing during the week of October 31, 2022,”

 5 Dkt. No. 865.

 6 I.       Availability During the Week of October 31, 2022

 7          The Parties have met and conferred and regrettably there are no dates during the week of

 8 October 31, 2022 on which the Parties’ respective counsel and witnesses all are available. Plaintiffs

 9 and their witnesses are available only Friday, November 4, and Google and its U.S.-based witnesses1

10 are available only on Wednesday, November 2.

11          In the event the Court is able to conduct the hearing in either the prior or the subsequent

12 weeks, the Parties have determined that they and their witnesses are available on October 24, 2022

13 and November 14, 2022.

14 II.      Logistics: Request for Status Conference

15          The Parties agree that there are several issues relating to the evidentiary hearing on which it

16 would be helpful to have the Court’s guidance, including, but not limited to, the Court’s intended

17 hearing format and structure (e.g., hearing length, number of witnesses, topics of testimony, time for

18 opening/closings) and procedures for admitting evidence. The Parties believe that clarity on these and

19 several other issues in advance would aid the Parties’ preparation and ability to streamline their

20 presentations at the hearing.

21          The Parties respectfully request a status conference the week of September 19, 2022 or as

22 soon thereafter as is convenient for the Court to resolve these issues. The Parties are prepared to

23 provide the Court with a joint statement detailing their respective positions in advance of the status

24 conference if desired.

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     Of the Google employees and former employees on Plaintiffs’ witness list, three are based in
28 Europe (AbdelKarim Mardini, Jochen Eisenger, and Sabine Borsay).
                                                      -1-                    Case No. 4:20-cv-5146-YGR-SVK
                                                                     JOINT STATUS REPORT PURSUANT TO
                                                                                                DKT. NO. 865
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 1 Dated: September 15, 2022

 2
     BLEICHMAR FONTI & AULD LLP                    QUINN EMANUEL URQUHART &
 3                                                 SULLIVAN, LLP
 4   By: /s/ Lesley Weaver                         By: /s/ Stephen A. Broome
     Lesley Weaver (Cal. Bar No. 191305)           Stephen A. Broome (CA Bar No. 314605)
 5   Angelica M. Ornelas (Cal. Bar No. 285929)     stephenbroome@quinnemanuel.com
     Joshua D. Samra (Cal. Bar No. 313050)
 6   555 12th Street, Suite 1600                   Viola Trebicka (CA Bar No. 269526)
     Oakland, CA 94607                             violatrebicka@quinnemanuel.com
 7   Tel.: (415) 445-4003                          Crystal Nix-Hines (CA Bar No. 326971)
     Fax: (415) 445-4020                           crystalnixhines@quinnemanuel.com
 8   lweaver@bfalaw.com                            Alyssa G. Olson (CA Bar No. 305705)
     aornelas@bfalaw.com                           alyolson@quinnemanuel.com
 9   jsamra@bfalaw.com
                                                   865 S. Figueroa Street, 10th Floor
10   DiCELLO LEVITT LLC                            Los Angeles, CA 90017
                                                   Tel: (213) 443-3000
11   By: /s/ David A. Straite_______               Fax: (213) 443-3100
     David A. Straite (admitted pro hac vice)
12   Corban Rhodes (admitted pro hac vice)         Andrew H. Schapiro (admitted pro hac vice)
     One Grand Central Place                       andrewschapiro@quinnemanuel.com
13   60 East 42nd Street, Suite 2400               Teuta Fani (admitted pro hac vice)
     New York, New York 10165
14   Tel.: (646) 933-1000                          teutafani@quinnemanuel.com
     dstraite@dicellolevitt.com                    Joseph H. Margolies (admitted pro hac vice)
15   crhodes@dicellolevitt.com                     josephmargolies@quinnemanuel.com
                                                   191 N. Wacker Drive, Suite 2700
16   Amy E. Keller (admitted pro hac vice)         Chicago, IL 60606
     Adam Prom (admitted pro hac vice)             Tel: (312) 705-7400
17   Sharon Cruz (admitted pro hac vice)           Fax: (312) 705-7401
      Ten North Dearborn St., Sixth Floor
18    Chicago, IL 60602                            Jomaire Crawford (admitted pro hac vice)
      Tel.: (312) 214-7900                         jomairecrawford@quinnemanuel.com
19    akeller@dicellolevitt.com                    51 Madison Avenue, 22nd Floor
      aprom@dicellolevitt.com
20                                                 New York, NY 10010
                                                   Tel: (212) 849-7000
     SIMMONS HANLY CONROY LLC
21                                                 Fax: (212) 849-7100
     By:     /s/ Jason ‘Jay’ Barnes
22                                                 Josef Ansorge (admitted pro hac vice)
     Jason ‘Jay’ Barnes (admitted pro hac vice)    josefansorge@quinnemanuel.com
     An Truong (admitted pro hac vice)
23                                                 Xi (“Tracy”) Gao (CA Bar No. 326266)
     Eric Johnson (admitted pro hac vice)
     112 Madison Avenue, 7th Floor                 tracygao@quinnemanuel.com
24   New York, NY 10016                            Carl Spilly (admitted pro hac vice)
     Tel.: (212) 784-6400                          carlspilly@quinnemanuel.com
25   Fax: (212) 213-5949                           1300 I Street NW, Suite 900
     jaybarnes@simmonsfirm.com                     Washington D.C., 20005
26   atruong@simmonsfirm.com                       Tel: (202) 538-8000
     ejohnson@simmonsfirm.com                      Fax: (202) 538-8100
27

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                                                  -2-                  Case No. 4:20-cv-5146-YGR-SVK
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      Case 4:20-cv-05146-YGR Document 869 Filed 09/15/22 Page 4 of 5




 1                                        Diane M. Doolittle (CA Bar No. 142046)
                                          dianedoolittle@quinnemanuel.com
 2                                        Sara Jenkins (CA Bar No. 230097)
                                          sarajenkins@quinnemanuel.com
 3
                                          555 Twin Dolphin Drive, 5th Floor
 4                                        Redwood Shores, CA 94065
                                          Telephone: (650) 801-5000
 5                                        Facsimile: (650) 801-5100
 6                                        Jonathan Tse (CA Bar No. 305468)
                                          jonathantse@quinnemanuel.com
 7                                        50 California Street, 22nd Floor
                                          San Francisco, CA 94111
 8                                        Tel: (415) 875-6600
                                          Fax: (415) 875-6700
 9

10   Counsel for Plaintiffs               Counsel for Defendant
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                                         -3-                 Case No. 4:20-cv-5146-YGR-SVK
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                                                                                DKT. NO. 865
       Case 4:20-cv-05146-YGR Document 869 Filed 09/15/22 Page 5 of 5




 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

 2          I, Alyssa G. Olson, attest that concurrence in the filing of this document has been obtained

 3 from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

 4          Executed this 15th day of September, 2022, at Culver City, California

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 6                                                /s/ Alyssa G. Olson
                                                  Alyssa G. Olson
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                                                      -4-                    Case No. 4:20-cv-5146-YGR-SVK
                                                                     JOINT STATUS REPORT PURSUANT TO
                                                                                                DKT. NO. 865
